      Case 7:18-cv-11077-KMK-AEK
      Case 7:18-cv-11077-KMK-AEK Document
                                 Document 140
                                          141 Filed
                                              Filed 01/08/21
                                                    01/11/21 Page
                                                             Page 11 of
                                                                     of 11


                    NEWMAN FERRARALLP
                               1250 Broadway, 27th Fl., New York, NY 10001
                                 tel. 212-619-5400 • fax 212-619-3090
                                             www.nfllp .com
                                                                             MEMO ENDORSED
                                                                        January 8, 2021
VIA ECF
Hon. Kenneth M. Karas
United States District Court
United States Courthouse
300 Quarropas Street
White Plains, NY 10601


                               Re: Maldonado v. Town ofGreenburgh
                                   18-cv-11077


Your Honor:

       Counsel for all parties request that the Court adjourn the status conference currently
scheduled for January 12, 2021, as discovery is ongoing.

        Additionally, counsel jointly request that the conference be rescheduled for any of the
following dates: April 19, 21 or 23 at any time that the Court has available.

       1bank you for your consideration of our requests.




                                                    Respectfully submitted,

                                                   NEWMAN FERRARA LLP

                                                                 Isl

                                                    Randolph M. McLaughlin
                                                    Debra S. Cohen
                                                    Counsel/or Plaintiff


                                 ffi t:WJ I-Pcl. - 7#-L
cc: All counsel via ECF            a ~(]_z_
                                      a,l      J :OOff'h


                                                                                   .       ·.S . . .

                                                                                 I / Ii /;;o;I
